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                                                                 UNITED STATES DISTRICT COURT
                                                                   FOR THE DISTRICT OF ALASKA
900 WEST FIFTH AVENUE, SUITE 700
 ANCHORAGE, ALASKA, 99501-2029




                                   RAYMOND C. GIVENS,
   WINNER & ASSOCIATES, P.C.




                                                    Plaintiff,
                                           v.
          (907) 277-9522
           Law Offices of




                                   LEROY OENGA, JR.
                                                    Defendant.
                                                                                            Case No. 3:21-cv-00008-HRH

                                                           DECLARATION OF RAYMOND C. GIVENS

                                           Pursuant to 28 U.S.C. § 1746, I hereby declare as follows:

                                           1.       I am the Plaintiff in this action. I make this declaration in support of

                                   Plaintiff’s Opposition to Motion to Dismiss.

                                           2.       I was not and am not a member of the Alaska Bar Association. I was

                                   admitted to practice law in Washington State and Idaho when I represented the Oenga

                                   heirs. I have now retired, and I no longer maintain active status with the bar associations



                                   DECLARATION OF RAYMOND C. GIVENS
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                                                                                                                           Exhibit C
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                                   of either state. I do, however, maintain senior status with the Idaho Bar Association. I

                                   no longer represent the Oenga heirs. Instead, I am Plaintiff in this action seeking

                                   payment of attorney’s fees that I earned when I did.

                                           3.       I have never had an office in the State of Alaska.

                                           4.       No material portion of the legal services that I performed for the Oenga

                                   heirs was rendered in the State of Alaska. Instead, I filed suit on their behalf against the

                                   United States for its breach of trust regarding federal restricted property before the

                                   Court of Federal Claims (“CFC”), which is headquartered in Washington, D.C. The
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                                   trial on that claim was held in Seattle, Washington, not in Alaska. I did not bring suit
   WINNER & ASSOCIATES, P.C.




                                   on behalf of the Oenga heirs or Defendant in any of the state or federal courts in
          (907) 277-9522
           Law Offices of




                                   Alaska.

                                           5.       Before filing the CFC action, I contacted the Alaska Bar Association and

                                   was told that I need not associate with Alaska counsel, under Alaska Rule of

                                   Professional Conduct 5.5(c), because, by representing the Oenga heirs against the

                                   United States before the CFC, I would not “provide legal services” in Alaska.

                                           6.       The claims of the Oenga heirs had originally been part of the nationwide,

                                   federal Cobell litigation, which was brought as a class action against the United States

                                   for its breach of trust in administering trust and restricted properties and funds for

                                   American Indians and Alaska Natives. I gave notice, on behalf of the Oenga heirs, that



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                                   they opted out of, and were excluded from, the plaintiff class in the Cobell litigation.

                                   See Exhibit 1, attached hereto.

                                           I declare under penalty of perjury that the foregoing is true and correct.

                                           Dated this 10th day of May, 2021, at Kirkland, Washington.


                                                                               /s/ Raymond C. Givens




                                   Certificate of Service
                                   I hereby certify that on May 10, 2021,
900 WEST FIFTH AVENUE, SUITE 700
 ANCHORAGE, ALASKA, 99501-2029




                                   a copy of the foregoing document was served electronically
   WINNER & ASSOCIATES, P.C.




                                   through the ECF system as indicated on the Notice of Electronic Filing.

                                   By:     /s/ Carrie Sisson
                                           Carrie Sisson
          (907) 277-9522
           Law Offices of




                                   DECLARATION OF RAYMOND C. GIVENS
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